
49 So. 3d 321 (2010)
Stefan JOHNSON, Appellant,
v.
STATE of Florida, Appellee.
No. 4D10-650.
District Court of Appeal of Florida, Fourth District.
November 24, 2010.
Rehearing Denied January 5, 2011.
Stefan Johnson, Belle Glade, pro se.
No appearance required for appellee.
PER CURIAM.
The order denying appellant's motion for return of property is affirmed for reasons other than those given by the trial court. Appellant's motion was facially insufficient. See Almeda v. State, 959 So. 2d 806 (Fla. 2d DCA 2007).
Affirmed.
MAY, CIKLIN and LEVINE, JJ., concur.
